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               IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF TEXAS
                         DALLAS DIVISION

MICAH CROFFORD BROWN,                §
            Petitioner,              §
                                     §
v.                                   §     CIV. NO. 3:19-CV-2301-L-BN
                                     §     *DEATH PENALTY CASE*
BOBBY LUMPKIN, Director,             §
Texas Department of Criminal         §
Justice, Correctional Institutions   §
Division,                            §
                  Respondent.        §

     RESPONDENT LUMPKIN’S OBJECTIONS TO THE FINDINGS,
           CONCLUSIONS, AND RECOMMENDATION

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                               OBJECTIONS

      Petitioner Micah Brown was convicted and sentenced to death in Texas

state court for the capital murder of Stella Ray. Brown seeks federal habeas

relief from his conviction. ECF No. 29 (Pet.). The Director filed an answer and

Brown filed a reply. ECF No. 40 (Ans.); ECF No. 48 (Reply). On August 10,

2022, the magistrate issued findings, conclusions, and a recommendation

(FCR) that Brown be denied habeas corpus relief, an evidentiary hearing, leave

to amend his petition, and a certificate of appealability (COA). ECF No. 83

(FCR). Although the Director agrees with the ultimate recommendation to

deny these requests, the Director respectfully objects to some of the findings

and omissions by the magistrate.

I.    Objections to the Magistrate’s Resolution of Brown’s Claims that
      Trial Counsel Were Ineffective at the Guilt-Innocence Phase of
      Trial.

      In his first claim, Brown argues that trial counsel were ineffective for

failing to investigate and present a cohesive theory to rebut the State’s

aggravating element that Brown murdered Ray “during the course of

committing or attempting to commit obstruction, retaliation, or terroristic

threat.” Pet. at 14–62. Specifically, Brown argues that trial counsel should

have presented a plethora of alleged impairments to rebut the mens rea

element of the aggravating factors. Id. The Director does not disagree with the




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magistrate’s ruling on the merits. However, the magistrate should have found

this claim unexhausted and procedurally defaulted.

         As the Director argued in his answer, this claim is unexhausted because

it is factually distinct from the claim raised in state proceedings. Ans. at 30–

32. Without acknowledging whether the claim is unexhausted, the magistrate

did recognize the dissimilarity between Brown’s state-habeas-IATC-at-guilt

claim and his federal-habeas-IATC-at-guilt claim, finding that “Brown “has

chosen . . . to expand his list of complaints about the performance of trial

counsel during the guilt-innocence phase of trial beyond the specific complaints

that he fairly presented in his second claim for state habeas relief[.]” FCR at

107. 1

         The Director objects to the magistrate’s decision to bypass the exhaustion

determination and any resulting procedural bar. It is settled that habeas relief

“shall not be granted” under any circumstances unless it appears that “the

applicant has exhausted the remedies available in the courts of the State.” 28

U.S.C. § 2254(b)(1). A petitioner must have first provided to the highest court

of the state a fair opportunity to apply (1) the controlling federal constitutional

principles to (2) the same factual allegations before a federal court will


1     If Claim One is deemed exhausted, and therefore adjudicated on the merits,
the Director objects to the omission of a determination that Brown failed to show that
the state court’s adjudication of Claim One was unreasonable under 28 U.S.C §
2254(d).



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entertain the alleged errors. Duncan v. Henry, 513 U.S. 364, 365–66 (1995).

To satisfy exhaustion, all of the grounds raised in a federal habeas application

must have been “fairly presented” to the state courts prior to being presented

to the federal courts. Id.; Nobles v. Johnson, 127 F.3d 409, 420 (5th Cir. 1997).

Moreover, “[t]he exhaustion requirement is not satisfied if the prisoner

presents new legal theories or factual claims in his federal habeas petition.”

Nobles, 127 F.3d at 420 (citing Anderson v. Harless, 459 U.S. 4, 6–7 (1982)).

      Brown’s unexhausted claim is also procedurally defaulted for the

purposes of federal habeas review because if he returned to state court to

exhaust his claim by filing a subsequent state application, the application

would be dismissed for abuse of the writ. Coleman v. Thompson, 501 U.S. 722,

735 n.1 (1991); Beatty v. Stephens, 759 F.3d 455, 465 (5th Cir. 2014). To

overcome the default, Brown must demonstrate “cause and prejudice” or show

a fundamental miscarriage of justice. Coleman, 501 U.S. at 750. “Cause”

requires Brown to show that “some objective factor external to the defense

impeded counsel’s efforts to comply with the State’s procedural rule.” Murray

v. Carrier, 477 U.S. 478, 488 (1986). A miscarriage of justice in this context

means the petitioner is actually innocent of capital murder or his death

sentence. Sawyer v. Whitley, 505 U.S. 333, 339–40, 349 (1992).




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      Brown argued that he can show cause for the default of his first claim

via the equitable exception announced in Martinez v. Ryan 2 and Trevino v.

Thaler. 3 Pet. at 14; Reply at 12–13. In Martinez, the Supreme Court found for

the first time an equitable exception to the statement previously asserted in

Coleman that an error by an attorney in a state postconviction proceeding does

not qualify as cause to excuse a procedural default. 566 U.S. at 9. Trevino held

that this limited equitable exception generally applies to Texas capital cases.

569 U.S. at 417. To meet the Martinez/Trevino exception, Brown must show

that (1) his underlying IATC claim is “substantial,” meaning that he “must

demonstrate that the claim has some merit,” Martinez, 566 U.S. at 14; and (2)

his initial state habeas counsel was ineffective in failing to present this claim

in his first state habeas application. See id.; Trevino, 569 U.S. at 429. Brown

can satisfy neither prong because, as correctly determined by the magistrate,

his first claim has no merit, FCR at 103–17, and state-habeas counsel therefore

were not ineffective for failing to raise this claim.

      Therefore, the Director objects because the magistrate should have found

that Brown’s first claim is unexhausted and resultantly procedurally

defaulted.




2     Martinez v. Ryan, 566 U.S. 1 (2012).

3     Trevino v. Thaler, 569 U.S. 413 (2013).

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II.   Objections to the Magistrate’s Resolution of Brown’s Claims that
      Trial Counsel Were Ineffective at the Punishment Phase of Trial.

      In his second claim, Brown argues that trial counsel were ineffective for

failing to investigate and present mitigating evidence at punishment. Pet. at

62. The Director does not disagree with the magistrate’s recommendation to

ultimately deny this claim. But the Director objects because the magistrate

should have found specific parts of this claim unexhausted and procedurally

defaulted.

      At the end of his second claim, Brown argues that trial counsel were

ineffective for failing to object to the State’s argument regarding the chilling

effect a life sentence would have on future witnesses coming forward. Pet. at

107–08. In a footnote, he also argues that trial counsel should have objected

to the State’s comment on Brown’s demeanor because it is “tantamount to

arguing that a person should be executed not because of the severity of their

crime but because of the nature of their disability.” Id. at 104 n. 27. Brown

also suggests that trial counsel’s ineffectiveness violated the Eighth and

Fourteenth Amendments. Pet. at 111–12. As the Director argued in his answer,

these specific arguments were not raised in state court. Ans. at 109 n.20, 110,

112 n.21. These claims are also procedurally defaulted because if Brown

returned to state court to exhaust them by filing a subsequent state

application, the application would be dismissed for abuse of the writ. See supra



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 pp.2–4. And Brown cannot prevail on these defaulted claims except in limited

 circumstances. See supra. pp. 2–4. He fails to demonstrate such circumstances

 here. 4 The Director objects to the omission of a determination that these

 portions of Brown’s second claim are unexhausted and therefore procedurally

 defaulted.

       Moreover, as the Director argued, Ans. at 112 n.21, Brown’s suggestion

 that trial counsel’s ineffectiveness violated the Eighth and Fourteenth

 Amendments is also barred under Teague v. Lane, 489 U.S. 288 (1989), because

 Brown is attempting to apply a new constitutional rule of criminal procedure.

 Id. at 310 (“[N]ew constitutional rules of criminal procedure will not be

 applicable to those cases which have become final before the new rules are

 announced.”). The Director therefore also objects to the omission of a

 determination that this specific part of Brown’s second claim is Teague-barred.




 4      Brown never addressed whether he could show cause to overcome the default
 of these specific parts of his second claim. Brown argued that his second claim was
 unexhausted because it was fundamentally altered by his new expert reports. Reply
 at 17–18. And he then briefly addressed the procedural default with respect to his
 second claim alleging that the insufficiency of the state-court evidence was “the fault
 of state-habeas counsel.” Id. at 18. But he never addressed the default of the failure-
 to-object part of that claim. Id. Brown also acknowledged that his IATC-Eighth-
 Amendment claim may be unexhausted, but never made an argument to overcome
 any resulting default. Reply at 17 n.10.

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 III.   Objections to the Magistrate’s Resolution of Brown’s Conflict-of-
        Interest Claim.

        In claim three, Brown argues that his constitutional rights were violated

 when a conflict of interest led to counsel picking the interests of his fact

 investigator, James Smith, over Brown’s defensive strategy of showing Stella

 Ray’s drug use. Pet. at 113. Smith’s wife, Brown contends, could have shown

 evidence of Stella Ray’s drug use, but Smith threatened to quit if trial counsel

 called her to testify. Id. at 118–19. While the Director does not disagree with

 the magistrate’s ruling on the merits, the Director objects because the

 magistrate should have found this claim procedurally defaulted and barred

 under Teague.

        As the Director argued in his answer, Brown’s argument that prejudice

 should be presumed when evaluating a claim alleging “conflict” between an

 attorney’s personal interests and those of his client is not supported by any

 Supreme Court precedent. Ans. at 115 n.5. The magistrate recognized as much.

 FCR at 155. Therefore, the Director objects because the magistrate should have

 found that the claim is barred under Teague, as Brown seeks to apply a new

 constitutional rule of criminal procedure. See supra p.6.

        The magistrate also recognized that Brown did not fairly present this

 claim in state court. FCR at 152. And the claim is also procedurally defaulted

 for the purposes of federal habeas review because if Brown returned to state



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 court to exhaust this claim by filing a subsequent state application, the

 application would be dismissed for abuse of the writ. See supra. pp.2–4. So, as

 explained above, Brown cannot prevail on a defaulted claim except in limited

 circumstances. Id.

       Brown argues that he can show those circumstances because, if this

 claim is unexhausted, he can still show cause under Martinez/Trevino to

 present the claim in federal court. Pet. at 113; Reply at 22. But Brown can

 satisfy neither prong of Martinez because his third claim has no merit, see FCR

 at 151–59, and state-habeas counsel therefore could not have been ineffective

 for failing to raise the claim. The Director accordingly objects because the

 magistrate should have found that Brown’s third claim is unexhausted and

 procedurally defaulted as a result.

 IV.   Objections to the Magistrate’s Resolution of Brown’s Venue-
       Trial-Court-Error Claim.

       In his fourth claim, Brown raised both a claim that trial counsel were

 ineffective for failing to move for a change of venue and that the trial court

 erred by failing to change venue sua sponte. Pet. at 121–28. The Director does

 not disagree with the magistrate’s ruling on the merits of Brown’s the IATC-

 venue claim. FCR at 159–68. The Director also does not disagree with the

 magistrate’s ruling on the merits of Brown’s the venue-trial-court-error claim.

 Id. at 168–71. The Director, however, objects because the magistrate should



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 have found that Brown’s venue-trial-court-error claim is procedurally

 defaulted.

         As, the magistrate correctly determined, Brown’s claim that the trial

 court should have sua sponte changed venue is unexhausted. FCR at 169.

 Therefore, this unexhausted claim is procedurally defaulted for the purposes

 of federal habeas review because if Brown returned to state court to exhaust

 his claim by filing a subsequent state application, the application would be

 dismissed for abuse of the writ. See supra. pp.2–4. So, as explained above,

 Brown cannot prevail on a defaulted claim except in limited circumstances. See

 id.

       Brown argues that he can demonstrate such circumstances because, if this

 claim is unexhausted, he can still obtain a merits review of the claim under

 Martinez/Trevino. Pet. at 127; Reply at 23 n.13. Brown’s argument fails for

 two reasons. First, the Martinez exception to the “cause” rule under Coleman

 does not apply to claims of trial court error, as it does not apply to non-IATC

 claims. See Davila v. Davis, 137 S. Ct. 2058, 2065 (2017). And second, even

 assuming Martinez applies, Brown can satisfy neither prong of Martinez

 because, as the magistrate determined, his venue-trial-court-error claim has

 no merit, FCR at 168–71, and state-habeas counsel therefore could not have

 been ineffective for failing to raise the claim. The Director objects because the

 magistrate should have found that this claim is procedurally defaulted.


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 V.    Objections to the Magistrate’s Resolution of Brown’s Claims of
       Prosecutorial Misconduct.

       In his fifth claim for relief, Brown argues that the prosecution committed

 misconduct by making improper jury arguments. Pet. at 128–42. In the first

 part of that claim, Brown argues that the prosecution improperly commented

 on his failure to testify. Pet. at 130. As the magistrate correctly found, that

 standalone argument was never raised in state court and it is unexhausted.

 FCR at 72. Therefore, this unexhausted claim is procedurally defaulted for the

 purposes of federal habeas review because if Brown returned to state court to

 exhaust his claim by filing a subsequent state application, the application

 would be dismissed for abuse of the writ. See supra. pp.2–4. So, as explained

 above, Brown cannot prevail on a defaulted claim except in limited

 circumstances. See id. He fails to show such circumstances here. 5 The Director

 therefore objects because the magistrate should have found this part of

 Brown’s fifth claim procedurally defaulted.

       As part of his fifth claim, Brown also argues that the prosecution violated

 his Eighth Amendment rights when it argued that mitigating evidence must

 be connected to the crime. Pet. at 131–34. As the Director argued, part of the

 claim—that the prosecution improperly talked about how Brown’s family tree




 5     Brown acknowledges that this claim is unexhausted, but instead of arguing to
 overcome a default, he only asked for a stay of proceedings. Reply at 26–27.

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 and family history was not sufficiently mitigating—was procedurally defaulted

 on appeal because Brown did not preserve the alleged error at trial. Ans. at

 142 (citing Brown v. State, No. AP-77,019, 2015 WL 5453765, at *12–13 (Tex.

 Crim. App. Sept. 16, 2015)). The Fifth Circuit has consistently held that the

 Texas contemporaneous objection rule is an adequate and independent state

 ground barring federal habeas review of a petitioner’s claim. Norris v. Davis,

 826 F.3d 821, 832 (5th Cir. 2016). Because the Texas contemporaneous

 objection bar is an adequate and independent state ground barring relief,

 Brown’s fifth claim pertaining to this particular part of closing argument is

 therefore defaulted. Brown fails to show cause and prejudice to overcome the

 default and he fails to show defaulting the claim would result in a miscarriage

 of justice. The Director therefore objects because the magistrate should have

 found this part of Brown’s fifth claim procedurally defaulted.

       In another portion of his fifth claim, Brown argues that the State violated

 his due process rights during closing argument when it (1) suggested he had

 the burden of proof on the future-dangerousness special issue, (2) referred to

 “God” and “mercy”, and (3) suggested that if Brown were set free, he would

 shoot Tracy Williams. Pet. at 134–40. As the magistrate determined, these

 claims are unexhausted. FCR at 89. Therefore, they are procedurally defaulted

 from habeas review because if Brown returned to state court to exhaust them

 by filing a subsequent state application, the application would be dismissed for


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 abuse of the writ. See supra. pp.2–4. Brown has not shown cause and prejudice

 or that failure to consider this claim would result in a fundamental miscarriage

 of justice. 6 The Director therefore objects because the magistrate should have

 found this part of Brown’s fifth claim procedurally defaulted.

       Brown also raised the argument that these allegedly improper

 arguments cumulatively prejudiced the Director. Pet. at 140–41. As the

 Director argued, this claim is unexhausted and therefore defaulted, and it is

 also barred under Teague. Ans. at 151–52; see supra pp.2–4 (discussion of

 procedural default), 6 (discussion of Teague nonretroactivity). It is also

 meritless because a court cannot cumulate prejudice where there is no error.

 The Director objects to the magistrate’s omission of these findings as they

 pertain to Brown’s cumulation argument at the end of his fifth claim.

 VI.   Objections to the Magistrate’s Resolution of Brown’s Miranda 7
       Claims.

       In his sixth claim for relief, Brown argues that the trial court committed

 constitutional error when it admitted his videotaped, post-arrest statements to

 law enforcement and his videotaped, post-arrest statements to a television

 reporter. Pet. at 142. He also argues that he did not knowingly, voluntarily, or



 6      Brown only argues that if these claims are unexhausted, he should be allowed
 to go back to state court; he does not make any argument to overcome the default.
 Reply at 29–31.

 7     Miranda v. Arizona, 384 U.S. 463 (1966).

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 intelligently waive his rights under Miranda because of his alleged mental

 impairments. Id. at 145–46. And finally, Brown alleges that trial counsel were

 ineffective for failing to object to the admission of these videos. Id. at 149–50.

       While the Director agrees with the magistrate’s disposition of Brown’s

 Miranda-trial-court-error claims, he objects to the omission of a procedural

 default as to these claims. As the magistrate acknowledged, trial counsel did

 not object to the admission of these videotapes and appellate counsel did not

 complain about the admission of either videotaped statement on direct appeal.

 FCR at 58. Therefore, the claim is unexhausted and procedurally defaulted

 because, if Brown returned to state court to exhaust his claim by filing a

 subsequent state application, the application would be dismissed for abuse of

 the writ. See supra. pp.2–4.

       In a footnote, Brown suggested that he could show cause to overcome the

 default because appellate counsel was ineffective for failing to raise these

 claims on direct appeal. Pet. at 142 n.36. But, as explained in the Director’s

 answer, Brown’s cause argument fails because appellate counsel cannot be

 ineffective for failing to raise an unpreserved—and therefore frivolous—

 argument. Ans. at 153. Moreover, because Brown failed to exhaust his claim

 that appellate counsel was ineffective for failing to raise a standalone Miranda

 claim, that claim itself is defaulted and it cannot serve as cause to overcome

 the default of Brown’s standalone Miranda claim. See Edwards v. Carpenter,


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 529 U.S. 446, 453 (2000); 1.SHCR at 103–07. Therefore, Brown’s Miranda-

 trial-court-error claim is procedurally defaulted and the Director objects to the

 omission of any such finding.

       Brown also briefly raised his exhausted claim that trial counsel were

 ineffective for failing to object to the admission of these videotapes. Pet. at 149–

 50. The magistrate’s report does not seem to address this part of Brown’s sixth

 claim. As the Director argued, this part of Brown’s sixth claim was exhausted

 and adjudicated on the merits in state court. Ans. at 168–69. Because Brown

 fails to show that the denial of this claim was an unreasonable application of

 Supreme Court law, Brown fails to meet his burden under 28 U.S.C. § 2254(d).

 Id. The Director objects to the omission of such an analysis disposing of the

 IATC portion of Brown’s sixth claim.

 VII. Objections to the Magistrate’s Resolution of Brown’s Challenges
      to the Texas Capital Sentencing Scheme.

       In his eighth claim, Brown raised three challenges to the Texas special

 issues. Specifically, he argued that the trial court erred because it did not rule

 that (1) the Texas future dangerousness special issue is unconstitutional for

 failing to narrow the class of death-eligible defendants and for failing to define

 the terms “probability,” “criminal acts of violence,” or “continuing threat to

 society”; (2) that the mitigation special issue fails to adequately define

 “mitigation evidence”; and (3) that the Texas “10-12” rule is unconstitutional.”



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 Pet. at 153–60. The Director does not disagree with the magistrate’s ruling on

 the merits.

       But the magistrate should have also found that Brown’s future

 dangerousness argument and his 10-12 Rule argument are barred under the

 non-retroactivity doctrine of Teague. See supra p.6. As the Director argued in

 his answer, the Supreme Court has never held that Texas’s special issues

 contain vague terms requiring further definition. Ans. at 174. The magistrate

 acknowledged as much, noting that the Fifth Circuit has rejected Brown’s

 argument for “more than a quarter century[.]” FCR at 32. The Director also

 argued that the Fifth Circuit has routinely rejected Brown’s 10-12 Rule

 argument. Ans. at 175. The magistrate recognized that as well. FCR at 41.

 Thus, the magistrate should have found Brown’s vagueness and 10-12 rule

 arguments in claim eight barred under Teague, 489 U.S. at 310.

       Moreover, the magistrate recognized that Brown’s future dangerousness

 and mitigation challenges to the Texas special issues were not raised in state

 court and are therefore unexhausted. FCR at 28. And these claims are also

 procedurally defaulted for the purposes of federal habeas review because if

 Brown returned to state court to exhaust them by filing a subsequent state

 application, the application would be dismissed for abuse of the writ. See supra.

 pp.2–4. Therefore, Brown cannot obtain review of them except in limited

 situations. See id. As he fails to show such a situation here, these parts of


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 Brown’s eighth claim are unexhausted and consequently procedurally

 defaulted, and the Director objects to the magistrate’s omission of such a

 finding.

       In his ninth claim, Brown raised two challenges to the Texas capital

 sentencing scheme. Specifically, he argued (1) that the scheme fails to narrow

 the class of death eligible offenders and (2) that the scheme fails to ensure a

 comparative proportionality review of a capital sentence. Pet. at 160–64. The

 magistrate recognized that these arguments were not raised in state court and

 are therefore unexhausted. FCR at 27–28. And Brown’s ninth claim for relief

 is also procedurally defaulted because if Brown returned to state court to

 exhaust his claim by filing a subsequent state application, the application

 would be dismissed for abuse of the writ. See supra. pp.2–4.

       To show cause for failing to exhaust his ninth claim, Brown argues that

 his claim is supported by “recent scholarship” that was unavailable in state

 court. Pet. at 160; Reply at 38–39. He cites no authority showing that the

 emergence of additional support for a claim renders it previously unavailable

 such that cause is shown under Coleman. Id. Nor can he show Coleman

 prejudice, as his death sentence was not disproportionate given the facts of the

 case: Brown brutally hunted down and shot his ex-wife in front of their

 children, said he did not regret it, and showed intent to subsequently murder

 Tracy Williams. See Brown, 2015 WL 5453765, at *1–6. As Brown’s attempt to


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 overcome this default fails, Brown’s ninth claim is procedurally defaulted, and

 the Director objects to the magistrate’s omission of such a finding.

       The Director also argued that Brown’s insufficient-narrowing claim is

 barred under Teague because the Supreme Court has never held that the Texas

 special issues do not sufficiently narrow the class of death-eligible offenders.

 Ans. at 178–79. The magistrate recognized that the Supreme Court has

 “repeatedly rejected” the insufficient-narrowing argument, FCR at 44, but did

 not explicitly apply the Teague bar. Thus, the Director objects because the

 magistrate should have ruled that Brown’s improper-narrowing claim is

 barred under Teague. See supra p.6.

 VIII. Objections to the Magistrate’s Resolution of Brown’s Cumulative
       Error Claim.

       In his final claim for relief, Brown argues that the prejudice of his alleged

 constitutional violations should be cumulated. Pet. at 168–70. While the

 Director agrees with the magistrate’s recommendation that this claim be

 denied, he objects. As the magistrate found, this claim is unexhausted. FCR at

 171. Therefore, the claim is procedurally defaulted because if Brown returned

 to state court to exhaust this claim by filing a subsequent state application, the

 application would be dismissed for abuse of the writ. See supra. pp.2–4.

       Brown cannot show cause and prejudice or that defaulting the claim

 would lead to a miscarriage of justice. In his reply, Brown conceded his failure



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 to exhaust and did not make any argument to overcome the default in federal

 court. Reply at 41. The Director accordingly objects to the magistrate’s

 omission of any finding that this claim is unexhausted and therefore

 procedurally defaulted.

 IX.   Objection to the Magistrate’s Conclusion Regarding Brown’s
       Request for an Evidentiary Hearing

       At the end of his petition, Brown requested an evidentiary hearing. Pet.

 at 170. The magistrate recommended that Brown’s request be denied. FCR at

 173–75. The magistrate correctly concluded that where the state court

 adjudicated Brown’s claims on the merits, further factual development is

 precluded by Cullen v. Pinholster, 563 U.S. 170, 185 (2011) (“evidence

 introduced in federal court has no bearing on § 2254(d)(1) review” and “[i]f a

 claim has been adjudicated on the merits by a state court, a federal habeas

 petitioner must overcome the limitation of § 2254(d)(1) on the record that was

 before that state court”). FCR at 173. Regarding any new legal or factual claims

 Brown raised, the magistrate also correctly concluded that Brown is not

 entitled to develop his new claims because, even assuming they were true, he

 would still not be entitled to relief. Id. at 174.

       The Director objects to one omission in this section of the FCR: 28 U.S.C.

 § 2254(e)(2), as it applies to unexhausted claims. The magistrate correctly

 determined that 28 U.S.C. § 2254(e)(2) precludes developing new evidence



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 “[i]nsofar as Brown’s claims in this federal habeas corpus proceeding were

 disposed of on the merits during the course of his direct appeal or state habeas

 corpus proceedings[.]” Id. at 173. But § 2254(e)(2) also “continues to have force”

 with respect to claims that were not adjudicated on the merits in state court

 proceedings. Pinholster, 563 U.S. at 185–86; see also McCamey v. Epps, 658

 F.3d 491, 497 (5th Cir. 2011) (noting that § 2254(e)(2) “remains an important

 tool” where habeas petitioners raise claims not adjudicated on the merits by

 the state court). Thus, the magistrate should have concluded that § 2254(e)(2)

 also precludes Brown’s request for a hearing on his unadjudicated claims, and

 the Director objects to this omission.

 X.    Pinholster Objection

       As the Director stated in his answer, Brown attached two reports from

 psychologists to his petition. Ans. at 80 n.16. Moreover, the Director noted that

 several of Brown’s proffered state-habeas exhibits, including affidavits from

 family members and one declaration from an expert—were not admitted at the

 state-habeas hearings because they were inadmissible hearsay. Id. at 106 n.19.

 Where this evidence was used to support any claim adjudicated on the merits

 by the state court, this Court is precluded from considering it under Pinholster.

 563 U.S. at 185. However, the magistrate never addressed the Pinholster bar

 pertaining to this evidence; the magistrate addressed Pinholster only in the

 context of Brown’s request for a hearing. FCR at 174–75. The Director objects


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 to this omission of a finding that Brown’s newly proffered evidence cannot be

 considered when analyzing Brown’s adjudicated claims under 28 U.S.C.

 § 2254(d).

                               CONCLUSION

       The Director respectfully provides these objections to the magistrate’s

 findings, conclusions, and recommendation. For the foregoing reasons, the

 Director respectfully objects to the magistrate’s findings, conclusions, and

 recommendation.

                                    Respectfully submitted,

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                        CERTIFICATE OF SERVICE

        I do hereby certify that on August 24, 2022, I electronically filed the
 foregoing document with the Clerk of the Court for the U.S. District Court,
 Northern District of Texas, using the electronic case-filing system of the Court.
 The electronic case-filing system sent a “Notice of Electronic Filing” (NEF) to
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